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                                 ID #:4752




                      EXHIBIT 4
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10                      UNITED STATES DISTRICT COURT
11        CENTRAL DISTRICT OF CALIFORNIA – CENTRAL DIVISION
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13   LENORE ALBERT, JAMES                       Case No. 8:24-cv-01997-WLH-DFM
14   OCON, RYAN MCMAHON,                        [Assigned to the Hon. Wesley L. Hsu]
     LARRY TRAN, THERESA
15   MARASCO; CHAD PRATT; AND                  [PROPOSED] ORDER GRANTING
     LESLIE WESTMORELAND                       TYLER TECHNOLOGIES, INC.’S
16                                             NOTICE OF MOTION AND
                   Plaintiffs,                 MOTION TO DISMISS FIRST
17                                             AMENDED COMPLAINT
           v.
18   TYLER TECHNOLOGIES, INC.,                 Complaint Filed: September 16, 2024
19   STATE BAR OF CALIFORNIA;
     RICK RANKIN, STEVE MAZER,                 Hearing Date:     December 20, 2024
20   LEAH WILSON, RUBEN DURAN                  Time:             1:30 p.m.
     SHERRELL MCFARLANE;                       Courtroom:        9B
21   KATHERINE KINSEY, BENSON
     HOM, CINDY CHAN, SUZANNE
22   GRANT, and DOES 1-50,
     inclusive,
23                 Defendants.
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                                      [PROPOSED] ORDER
Case
 Case8:24-cv-01997-WLH-DFM
      8:24-cv-01997-JLS-DFM   Document
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 2         Having considered Defendant Tyler Technologies, Inc.’s Motion to Dismiss
 3 Plaintiffs’ First Amended Complaint (the “Motion”), and good cause appearing, IT IS
 4 HEREBY ORDERED that Tyler’s Motion is GRANTED in its entirety. Plaintiffs’
 5 claims against Tyler are dismissed in their entirety, and Tyler is dismissed as a
 6 Defendant to this Case.
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 8 Date:
                                               Honorable Wesley L. Hsu
 9                                             United States District Judge
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                                 [PROPOSED] ORDER
